Entered: December 20th, 2019
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Signed: December 19th, 2019

SO ORDERED
No opposition filed.




                        IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Baltimore Division)
        IN RE:                                     *
                                                   *
        BICKEL, ANNE KATHLEEN                      *       CASE NO. 18-26485-MMH
                                                   *
                    Debtor                         *       (Chapter 7)
               ****************************************************************

          ORDER GRANTING TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF
         REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND
           INTRERESTS PURSUANT TO 11 U.S.C. §§ 363(b), (f) and (m), (II) SURCHARGE
         AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE, AND (III) OTHER
               RELIEF INCLUDING PAYMENT OF THE EXPENSES OF THE SALE

                         1146 Annis Squam Harbour, Pasadena, Maryland 21122 (the “Property”)

                   Upon consideration of the application of George W. Liebmann, Trustee, for the Court to
        consider the CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF
        REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES AND
        INTRERESTS PURSUANT TO 11 U.S.C. §§ 363(b), (f) and (m), (II) SURCHARGE
        AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE, AND (III) OTHER
        RELIEF filed by the duly appointed Chapter 7 Trustee, George W. Liebmann (the “Trustee”).


                   For the reasons set forth in the motion, and after being fully advised as to the details
        regarding the proposed sale of the subject Property, it is hereby:
                   ORDERED as follows:
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        1.       The notice of the Motion is approved as proper and adequate under the
circumstances.
        2.       The Motion is GRANTED.
The Trustee is authorized to sell the Property located at 1146 Annis Squam Harbour, Pasadena,
Maryland 21122 for $175,000.00 plus a buyer’s premium of $6,000.00 for a total of
$181,000.00, conditioned on the consent of its lienholder(s), and in accordance with the terms
provided for in the Motion.
        3.       The “Real Property” is legally described as:
BEING KNOWN AND DESIGNATED AS LOT NO, 73, PLAT 4, ELIZABETH’S LANDING,
WHICH PLAT IS RECORDED AMONG THE LAND RECORDS OF ANNE ARUNDEL
COUNTY, MARYLAND IN PLAT BOOK NO. 73, FOLIO 29.
        4.       The Trustee is authorized to pay the secured mortgage lender, (also known as
“Secured Creditor”) the full amount of its lien as of the date of closing or other amount agreeable
to the Secured Creditor to release their lien.
        5.       The Trustee is authorized to take any and all actions and to execute any and all
documents necessary and appropriate to effectuate and consummate the terms of said sale,
including, executing a deed conveying the interests of the Debtor in the Real Property to the
Buyers pursuant to the subject Purchase and Sale Agreement.
        6.       Pursuant to 11 U.S.C. §363(f) of the Bankruptcy Code, effective upon closing, the
sale of the Real Property will vest in the Buyers all right, title and interest of the Debtor and the
bankruptcy estate in the Real Property, free and clear of the liens, claims or interests listed below
(collectively, the “Affected Interests”):
                 a)      Anne Kathleen Bickel (Debtor)
                 b)      Mr. Cooper (First Mortgage Lienholder)
        7.       This Order is and shall be effective as a determination that, upon and subject to
the occurrence of the closing of the sale, all Affected Interests have been and hereby are
adjudged and declared to be unconditionally released as to the Real Property.
        8.       The Buyers have not assumed any liabilities of the Debtor.
        9.       Authorized Disbursements at Closing: The Trustee, and any escrow agent upon
the Trustee’s written instruction, shall be authorized to make such disbursements from the
seller’s side of the transaction on or after the closing of the sale as are required by the purchase
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agreement or order of this Court, including, but not limited to, (a) all delinquent real property
taxes and outstanding post-petition real property taxes pro-rated as of the closing with respect to
the Property included among the purchased assets; (b) the amount of homeowners association,
neighborhood association and property management services which are a lien or charge on the
Property, and (c) other anticipated closing costs and costs of sale (estimated below):


       Total Sales/Brokers Commission:
       2% to Maryland REO Realty, LLC                                         $3,500.00
       2% to REMAX Allegiance                                                 $3,500.00
       2% to BK Global Real Estate Services                                   $3,500.00
       Buyer’s Premium to Trustee for the Bankruptcy Estate                   $6,000.00


Without further order of the court, the Trustee is authorized to pay closing costs in amounts
different than the estimated amounts described above so long as they are within industry standard
and with the consent of the lienholder, Secured Creditor and applicable homeowners
association(s) and the Trustee is authorized to pay necessary per diem alterations for
disbursements that are subject to a per diem calculation. Further, as part of the closing process,
the closing agent and any escrow agent making disbursements of the proceeds of the sale is
permitted and directed to make disbursements to the bankruptcy estate of the debtor(s) as
provided in paragraph 14 of this Order.
       10.     Except as otherwise provided in the Motion, the Property shall be sold,
transferred, and delivered to Buyers on an “as is, where is” or “with all faults” basis.
       11.     Buyers are approved as buyers in good faith in accordance with Section 363(m) of
the Bankruptcy Code, and Buyers shall be entitled to all protections of Section 363(m) of the
Bankruptcy Code.
       12.     This Court retains jurisdiction to enforce and implement the terms and provisions
of this Order and the purchase agreement, all amendments thereto, any waivers and consents
thereunder, and each of the documents executed in connection therewith in all respects, including
retaining jurisdiction to (a) compel delivery of the Property to the Buyer(s), (b) resolve any
disputes arising under or related to the purchase agreement, and (c) resolve any disputes
regarding liens, claims, or interests asserted against the Property.
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       13.     The purchase and sale agreement and any related documents or other instruments
may be modified, amended or supplemented by the parties thereto, in a writing signed by both
parties without further order of the Court, provided that any such modification, amendment or
supplement does not have a material adverse effect on the Debtor’s bankruptcy estate.
       14.     The Court specifically determines that property of the bankruptcy estate as
defined in 11 U.S.C. §541 includes all funds remaining after authorized closing disbursements
are made (“Remaining Funds”). The closing agent and any escrow agent making disbursements
of the proceeds of the sale is permitted and directed to remit to the Trustee such Remaining
Funds as part of the closing process.
cc:

Office of the U.S. Trustee                          Anne Kathleen Bickel
Garmatz Federal Courthouse                          1325 A Donald Avenue
101 W. Lombard St., Rm. 2625                        Severn, MD 21144
Baltimore, MD 21201
                                                    Patrick Butler
George W. Liebmann                                  BK Global Real Estate Services
George W. Liebmann, P.A.                            1095 Broken Sound Parkway, NW
700 North Charles Street, Unit 6D                   Suite 200
Baltimore, MD 21201                                 Boca Raton, FL 33487

David L. Ruben, Esq.                                Gladwin D'Costa
Law Office of David Ruben                           BK Global Real Estate/ Maryland REO Real
7310 Ritchie Highway, Suite 704                     13978 Baltimore Ave
Glen Burnie, MD 21061                               N.W. Suite 100
                                                    Laurel, MD 20707
Brittany Marie Taylor, Esq.
RAS Crane, LLC                                      Harris M. Weingrad
10700 Abbott’s Bridge Road                          REMAX Allegiance
Suite 170                                           1720 Wisconsin Ave NW
Duluth, GA 30097                                    Washington, DC 20007




                                         END OF ORDER
